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                     IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION


DAREL ADELSBERGER                                                    PLAINTIFFS
AND ANNETTE ADELSBERGER


V.                                Case No. 4;21-cv-471


UNION PACIFIC RAILROAD COMPANY                                       DEFENDANT



UNION PACIFIC RAILROAD COMPANY'S MOTION FOR PARTIAL SUMMARY
                                      JUDMGENT


        COMES NOW, Defendant, Union Pacific Railroad Company ("Union

Pacific"), and for its Motion for Partial Summary Judgment, states:


1. Plaintiffs' negligence action against Union Pacific alleges that Union Pacific

     negligently failed to properly maintain a culvert that is adjacent to Plaintiffs'

     property and caused flooding to their property. At issue for this Motion is

     the time period alleged in the Complaint. Plaintiffs allege "[f]rom at least

     2013 to the present, the defendant failed to properly maintain and clear the

     culvert and blocked the proper drainage of water." (Complaint, 1[8). It

     appears then that Plaintiffs intend to tell the jury about alleged flooding

     going back to 2013 and seek damages going back to 2013. The statute of

     limitations, however, is three years. Plaintiffs filed their Complaint on

     December 3, 2018.

2. Accordingly, as explained in the Memorandum of Law in Support, Union

     Pacific is entitled to summary judgment on any claims or damages alleged

     before December 3, 2015.
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3. Union Pacific relies upon the following attached hereto:

    Exhibit 1                      Report of Dr. Overton

    Exhibit 2                      Original Complaint

    Memorandum of Law, contemporaneously filed herewith

    Statement of Undisputed Facts, contemporaneously filed herewith

    WHEREFORE, premises considered, Union Pacific Railroad Company

    respectfully requests that this Motion for Partial Summary Judgment be

    granted, and for all claims or damages alleged before December 3, 2015 be

    dismissed with prejudice, and for all other relief to which it is entitled.



                                         Respectfully submitted.


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                                    CERTIFICATE OF SERVICE


      I, Jamie Huffman Jones, hereby certify that a copy of the foregoing has
been served upon the following counsel of through the Court's Electronic
Notification and/or mailed by United States Postal Service to the following non-
CM/ECF participant on this 5^ day of July, 2022:

Timothy Giattina
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                                            Jami




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